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                                                                            TIMOTHY M. g~ IEN, fJiK
                                                                            BY    M. ..K)aMJ
                        IN THE UNITED STATES DISTRICT COURT                      DEPUTY CLERK
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA

                         Plaintiff,

       v.                                              Case No. 19-40091-DDC


JARRETT WILLIAM SMITH

                         Defendant.


                                      PLEA AGREEMENT

        The United States of America, by and through Anthony W. Mattivi, Assistant United States

Attorney for the District of Kansas, and Jarrett William Smith, the defendant, personally and by

and through his counsel, Rich Federico and Kathryn Stevenson, hereby enter into the following

Plea Agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure:

        1.      Defendant's Guilty Plea. The defendant agrees to plead guilty to Counts 1 and 2

of the Indictment, which charge violations of 18 U.S.C. § 842(p), that is, distributing information

related to explosives, destructive devices, and weapons of mass destruction. By entering into this

Plea Agreement, the defendant admits to knowingly committing the offenses and to being guilty

of the offenses. The defendant understands that the maximum sentence which may be imposed as

to each count of the Indictment to which he has agreed to plead guilty is not more than 20 years of

imprisonment, a $250,000 fine, not more than five years of supervised release, and a $100.00

mandatory special assessment.

       2.       Factual Basis for the Guilty Plea. The parties agree the facts constituting the

offense to which the defendant is pleading guilty are as follows:

       The defendant joined the U.S. Army on June 12, 2017. Following his initial entry
       training at Fo1t Benning, Georgia, the defendant was stationed beginning
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        November 27, 2017, at Fort Bliss, Texas. The defendant served the U.S. Army as
        an infantry soldier, trained in combat and tactical operations. He was transferred
        to Fort Riley, Kansas on July 8, 2019.

        On March 27, 2019, the FBI received info1mation regarding the Facebook account
        belonging to the defendant, Jan-ett William Smith. The infmmation received by the
        FBI demonstrated that Smith had disseminated guidance to others on how to
        construct Improvised Explosive Devices (IEDs) and spoke to others via social
        media about his desire to travel to the country of Ukraine to fight with a violent,
        far-right paramilitary group.

        On September 20, 2019, from Fmi Riley in the District of Kansas, the defendant
        engaged with an FBI Undercover Employee (UCE) on a ce1iain social media
        platfmm, using the moniker "Anti-Kosmik 2182." During these online discussions,
        the defendant provided specific instructions for constructing an explosive device
        (Count 1). Later in that same conversation, Smith provided the UCE with a recipe
        for creating improvised napalm (Count 2). The defendant provided both the
        instructions for the IED and the napalm recipe with the intent that the info1mation
        be used for, and in furtherance of, a federal crime of violence, specifically the
        attempted use of a weapon of mass destruction.

        3.      Application of the Sentencing Guidelines. The paiiies request that the Court

apply the United States Sentencing Guidelines (Guidelines) to calculate the applicable sentence

and impose a sentence consistent with the Guidelines.        The defendant agrees to waive all

constitutional challenges to the validity of the Guidelines.     The defendant understands and

acknowledges that the Comi will find, by a preponderance of the evidence, the facts used to

determine the offense level, and in making its findings, that the Comi may consider any reliable

evidence, including hearsay. Nothing in this section prevents the paiiies from filing objections to

the Presentence Report prepai·ed by the United States Probation Office, or from arguing the

application of specific sections of the Guidelines. The paiiies agree that the Comi will determine

the final Guideline range. The paiiies understand this Plea Agreement binds the parties only and

does not bind the Comi. The paiiies agree that, under Guidelines§§ 2Kl.3(a)(3) and 2Kl.3(b)(3),

the applicable base offense level is 22. The paiiies fu1iher agree that Guidelines §§ 3Al .2 and

3Al .4 do not apply in this case.
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        4.       Relevant Conduct. The parties have agreed to the application of the Guidelines.

Therefore, the defendant agrees that the conduct charged in any dismissed counts, as well as all

other uncharged related criminal activity, will be considered as relevant conduct for purposes of

calculating the offense level for the counts of conviction, in accordance with United States

Sentencing Guidelines (U.S.S.G.) § lBl.3.

        5.       Government's Agreements. In return for the defendant's plea of guilty as set f01ih

herein, the United States Attorney for the District of Kansas agrees:

       (a)       to dismiss the remaining count (Count 3) of the Indictment at the time of
                 sentencing;

       (b)       to not file any additional charges against the defendant arising out of this
                 investigation;

        (c)      to recommend Gointly with the defendant) a three-year term of supervised release
                 and no fine;

       (d)       to allow the defendant to reserve the right to request a downward depaiiure and/or
                 a variance, in which case, the government agrees to recommend a sentence no
                 higher than the high end of the Guideline range; and

        (e)      to recommend the defendant receive a two (2) level reduction in the applicable
                 offense level under U.S.S.G. § 3El.1 for acceptance ofresponsibility. In addition,
                 if his offense level is 16 or greater, prior to any reduction for acceptance of
                 responsibility, and the Court finds he qualifies for a two-level reduction, the United
                 States will move at the time of sentencing for an additional one-level reduction for
                 acceptance of responsibility because he timely notified the government of his
                 intention to enter a plea of guilty. ·

       The United States' obligations under this Paragraph are contingent upon the defendant

continuing to manifest acceptance of responsibility. If the defendant denies or gives conflicting

statements as to his involvement, falsely denies or frivolously contests relevant conduct the Comi

determines to be true, willfully obstructs or impedes the administration of justice, as defined by

U.S.S.G. § 3Cl.1 (or willfully attempts to do so), or has engaged in additional criminal conduct,
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the United States reserves the right to petition the Comi for a hearing to determine if he has

breached this Plea Agreement.

        If the Comi finds by a preponderance of the evidence that the defendant (1) has breached

or violated this Plea Agreement; (2) has willfully obstructed or impeded the administration of

justice, as defined by U.S.S.G. § 3Cl.1 (or willfully attempted to do so); (3) has engaged in

additional criminal conduct; or (4) has otherwise failed to adhere to this Plea Agreement's terms,

the United States shall not be bound by this Paragraph, and may pursue any additional charges

arising from the criminal activity under investigation, as well as any charges for any pe1jury, false

statement, or obstruction of justice that may have occurred.

       If the Comi finds the defendant has violated this Plea Agreement, he understands and

agrees that all statements he made, any testimony he gave before a grand jury or any tribunal, or

any leads from such statements or testimony, shall be admissible against him in any and all

criminal proceedings. The defendant waives any rights which might be asserted under the United

States Constitution, any statute, Federal Rule of Criminal Procedure 1 l(f), Federal Rule of

Evidence 410, or any other federal rule that pe1iains to the admissibility of any statements he made

subsequent to this Plea Agreement.

       6.      Sentence to be Determined by the Court. The defendant understands that the

sentence to be imposed will be dete1mined solely by the United States District Judge. The United

States cannot and has not made any promise or representation as to what sentence he will receive.

       7.      Withdrawal of Plea Not Permitted. The defendant understands that if the Comi

accepts this Plea Agreement, but imposes a sentence with which he does not agree, he will not be

permitted to withdraw his guilty plea.

       8.      Payment of Special Assessment. The defendant understands that a mandatory

special assessment of $100. 00 per count of conviction will be entered against him at the time of
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sentencing. The defendant agrees to deliver to the Clerk of the United States District Comt

payment in the appropriate amount no later than the day of sentencing. The defendant has the

burden of establishing an inability to pay the required special assessment.            The patties

acknowledge that if the Comt finds the defendant is without resources to pay the special

assessment at the time of sentencing, the Comt may allow payment during his period of

incarceration.

        9.       Waiver of Appeal and Collateral Attack.           The defendant knowingly and

voluntarily waives any right to appeal or collaterally attack any matter in connection with this

prosecution, his conviction, or the components of the sentence to be imposed herein, including the

length and conditions of supervised release, as well as any sentence imposed upon a revocation of

supervised release. The defendant is aware that 18 U.S.C. § 3742 affords him the right to appeal

the conviction and sentence imposed. The defendant also waives any right to challenge his

sentence, or the manner in which it was determined, or otherwise attempt to modify or change his

sentence, in any collateral attack, including, but not limited to, a motion brought under 28 U.S .C.

§ 2255 (except as limited by United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)),

or a motion brought under Federal Rule of Civil Procedure 60(b ). In other words, the defendant

waives the right to appeal the sentence imposed in this case, except to the extent, if any, the Comt

depatts upwards from the sentencing Guideline range that the Comt determines to be applicable.

However, if the United States exercises its right to appeal the sentence imposed, as authorized by

18 U.S.C. § 3742(b), the defendant is released from this waiver and may appeal the sentence

received, as authorized by 18 U.S.C. § 3742(a). Notwithstanding the forgoing waivers, the patties

understand that the defendant in no way waives any subsequent claims with regards to ineffective

assistance of counsel or prosecutorial misconduct.
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        10.       FOIA and Privacy Act Waiver. The defendant waives all rights, whether asse1ted

directly or by a representative, to request or receive from any department or agency of the United

States any records pe1iaining to the investigation or prosecution of this case, including, without

limitation, any records that may be sought under the Freedom oflnformation Act, 5 U.S.C. § 552.

The defendant fmiher waives any rights conferred under the Privacy Act of 1974, 5 U.S.C. § 552a,

to prevent or object to the disclosure of records or materials pe1iaining to this case.

        11.       Full Disclosure by United States. The defendant understands the United States

will provide to the Comi and the United States Probation Office all information it deems relevant

to determining the appropriate sentence in this case. This may include information concerning his

background, character, and conduct, including the entirety of his criminal activities. The defendant

understands these disclosures are not limited to the count to which he is pleading guilty. The

United States may respond to comments he or his attorney makes, or to positions he or his attorney

takes, and to con-ect any misstatements or inaccuracies. The United States fmiher reserves its right

to make any recommendations it deems appropriate regarding the disposition of this case, subject

only to any limitations set fo1ih in this Plea Agreement. The defendant also has the right to provide

information concerning the offense and to make recommendations to the Comi and the United

States Probation Office.

        12.       Parties to the Agreement. The defendant understands this Plea Agreement binds

only him and the United States Attorney for the District of Kansas, and that it does not bind any

other federal, state, or local prosecution authority.

        13 .      Voluntariness of Guilty Plea. The defendant has had sufficient time to discuss

this case, the evidence, and this Plea Agreement with his attorney and he is fully satisfied with the

advice and representation his attorney provided. Fmiher, the defendant acknowledges that he has

read the Plea Agreement, understands it, and agrees it is true and accurate and not the result of any
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threats, duress or coercion. The defendant further understands that this Plea Agreement supersedes

any and all other agreements or negotiations between the paiiies, and unless subsequently

supplemented in writing with the joint approval of the parties, this Plea Agreement embodies each

and every te1m of the agreement between the parties. The defendant acknowledges that he is

entering into this Plea Agreement and is pleading guilty because he is guilty.            He fu1iher

acknowledges that he is entering his guilty plea freely, voluntarily, and knowingly.




AKtlu;ny W. Mattivi
                                                            Date:   IJ/2 l/)()11
Assistant United States Attorney


                                                            Date:       12 · Z-:J · J 1




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JaITett William Smith
Defendant



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